Case 2:18-cv-06296-JKS-CLW Document 266 Filed 08/21/24 Page 1 of 2 PageID: 3063




                                  UNITED STATES DISTRICT COURT
                                     DISTRICT OF NEW JERSEY
  VISION INDUSTRIES GROUP, INC.,
                                                   Civil Action No.: 2:18-cv-06296-JKS-CLW
                     Plaintiff,
           v.                                                           ORDER

  ACU PLASMOLD, INC., et al.,

                     Defendants.



         For the reasons stated in the Court’s accompanying opinion, it is on this 21st day of

 August 2024, hereby

         ORDERED that plaintiff Vision Industries Group, Inc.’s (“Vision”) motion for sanctions

 (ECF No. 224) is GRANTED IN PART and DENIED IN PART; and it is further

         ORDERED that the portions of Vision’s motion seeking (i) to preclude defendant ACU

 Plasmold, Inc. (“ACU”) from introducing at trial documents that were not produced before the

 fact discovery deadline and (ii) seeking an award of attorney’s fees and costs are GRANTED;

 and it is further

         ORDERED that ACU shall be precluded from introducing at trial documents that were

 not produced before May 8, 2020; and it is further

         ORDERED that the within award of fees and costs is imposed against ACU, not its

 counsel; and it is further

         ORDERED that within thirty (30) days of this order, Vision shall submit to the Court a

 Certification setting forth the costs and fees it incurred in connection with (i) the discovery

 proceedings discussed in Section IV(a)(2) of the accompanying opinion and (ii) the instant

 motion and ECF No. 104 and 124, along with attendant billing records; and it is further
Case 2:18-cv-06296-JKS-CLW Document 266 Filed 08/21/24 Page 2 of 2 PageID: 3064




        ORDERED that the portions of Vision’s motion seeking to preclude ACU from (i)

 challenging Vision’s damages expert on the basis of the underlying financial information

 Vision’s expert relies on to form opinions; and (ii) presenting testimony and/or evidence as to

 sales or expenses of ACU or ACU Hardware USA are DENIED WITHOUT PREJUDICE

 with leave to renew at the time of trial.

                                                             s/ Cathy L. Waldor
                                                             Hon. Cathy L. Waldor, U.S.M.J.




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